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                                                          March 16, 2007



United States District Court
Eastern District of New York
Hon. Arlene Rosario Lindsay
United States Magistrate Judge



              Re:     Fuchs et al v. Rizzo et al; 2:05-cv-4006 - Letter Application Notifying
                      Court of Settlement


Dear Judge Lindsay:

        I am writing on behalf of all parties to the above referenced action. Please allow this
correspondence to represent confirmation that on behalf of all parties to this action, I have
notified Chambers that this matter has been resolved pursuant to a settlement agreement.

       James J. O’Rourke, Esq., and Peter Stein, Esq., attorneys for the defendants, Salvatore
Rizzo and Karen Rizzo respectively, concur with the above confirmation and notification.

       Thank you for your consideration.


Dated: Hauppauge, New York
       March 16, 2007

                                                   Yours, etc.,
                                                   _____________________________
                                                   /s/Robert B. Kronenberg (RBK-7091)
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